[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION RE: DEFENDANT'S MOTION FOR COLLATERAL SOURCE REDUCTION OF ECONOMIC DAMAGES
As a result of a protracted chamber conference with opposing counsel and the court an agreement was reached with respect to several matters to wit: there was no issue concerning collateral sources and the method the court would follow in connection with the entry of the amount of judgment once answers to interrogatories submitted to the jury were obtained. This agreement was placed on the record and no objections thereto were taken.
Motion denied.
Flanagan, Judge Trial Referee CT Page 13265